A court hesitates to deprive a plaintiff of a trial on the merits, especially in a case alleging fraud, when it is reasonably clear that the ultimate issue of law is really before *Page 16 
it. If the evidence will throw light on the fairness and correctness in law of the ultimate decision, the case ought not be thrown out on demurrer.
Here, the reasons of demurrer are two. One is that it appears the agreement is contrary to public policy, and void. Paragraph 8 contains these words "and so that she might administer the same for the benefit of all the plaintiffs herein". That is sufficient against demurrer. And a Court of Equity, if it acts, would do just that.
The other allegation is that the agreement is void as being in contravention of the Statute of Frauds. The complaint alleges that the plaintiff "fulfilled all the obligations on her part to be performed thereunder".
   The demurrer is overruled.